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           EXHIBIT B
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                                                      EXHIBIT 1
                                       Home    Vita    Teaching   Blog   Contact




                                        Avi Rubin’s Vita




     Academic Degrees
     - 1994, Ph.D., Computer Science and Engineering, University of Michigan, Ann Arbor
     - 1991, M.S.E., Computer Science and Engineering, University of Michigan, Ann Arbor
     - 1989, B.S., Computer Science (Honors), University of Michigan, Ann Arbor

     Academic Appointments
     - April, 2004 - present
        Professor, Johns Hopkins University

     - August, 2010 - July, 2011
        Visiting Research Professor, Fulbright Scholar, Tel Aviv University, Israel

     - January, 2003 - April, 2004
        Associate Professor, Johns Hopkins University


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     - January, 2003 - present
        Technical Director, Johns Hopkins University Information Security Institute

     - 2006 - 2010
        Director and Principal Investigator (PI), National Science Foundation's ACCURATE Center

     - 1995 - 1999
        Adjunct Professor, New York University
         - Internet and Web Security Spring, 1999 (with Dave Kormann)
         - Privacy in Networks: Attacks and Defenses Spring, 1998 (with Dave Kormann and Mike
           Reiter)
         - Design and Analysis of Cryptographic Protocols Fall, 1996 & Spring, 1997 (with Matt
           Franklin)
         - Cryptography and Computer Security Fall, 1995 & Spring, 1996

     - Summer, 1999
        Visiting Professor, École Normale Supérieure, Paris, France

     - 1988 - 1993
        Teaching Assistant, University of Michigan
         - 1993 Intro. to Cryptography
         - 1992 Assembler Language Programming
         - 1991 Software Engineering
         - 1990 IVHS Seminar
         - 1989-1990 Head TA, Intro. to Computer Science
         - 1988-1989 Intro. to Computer Science

     - Doctoral Committees
        - Doctoral Thesis Advisor: Gabe Kaptchuk, JHU
        - Doctoral Thesis Advisor: Tushar Jois, JHU
        - Dissertation Committee: Thomas Tantillo, JHU (September, 2018)
        - Doctoral Thesis Advisor: Paul Martin, JHU (February, 2016)
        - Doctoral Thesis Advisor: Michael Rushanan, JHU (May, 2016)
        - Doctoral Thesis Advisor: Ayo Akinyele, JHU (December, 2013)
        - Doctoral Thesis Advisor: Matthew Pagano, JHU (August, 2013)
        - Doctoral Thesis Advisor: Ryan Gardner, JHU (August, 2009)
        - Doctoral Thesis Advisor: Sam Small, JHU (May, 2009)
        - Doctoral Thesis Advisor: Sujata Doshi, JHU (May, 2009)
        - Doctoral Thesis Advisor: Joshua Mason, JHU (June, 2009).
        - Dissertation Committee: J. Alex Halderman, Princeton University (May, 2009).
        - Dissertation Committee: Sophie Qiu (May, 2007).
        - Doctoral Thesis Advisor: Adam Stubblefield (April, 2005).


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           - Dissertation Committee: Kevin FU, MIT (February, 2005).
           - Dissertation Committee: Robert Fischer, Harvard University (June, 2003).
           - Dissertation Committee: Marc Waldman, New York University, (April, 2003).
           - Dissertation Committee: Patrick McDaniel, University of Michigan (September, 2001).
           - Doctoral Thesis Advisor: Fabian Monrose, New York University (April, 1999).
           - Dissertation Committee: Mike Just, Carleton University (November, 1998).
           - Dissertation Committee: Trent Jaeger, University of Michigan (October, 1996).

  Industry Experience
  - 2011 - present
     Harbor Labs, Managing Member
  - 2005 - 2011
     Independent Security Evaulators, Founder & President
  - 1997 - 2002
     AT&T Labs - Research, Secure Systems Research Department
  - 1994 - 1996
     Bellcore, Cryptography and Network Security Research Group
  - Summer, 1990
     Great Lakes Software Co., Programmer, Howell, MI
  - Summer, 1989
     IBM, Programmer, Meyers Corners Lab, Poughkeepsie, NY


  Books
       - Aviel D. Rubin, Brave New Ballot, Random House, (September, 2006).
       - William R. Cheswick, Steven M. Bellovin and Aviel D. Rubin, Firewalls and Internet
         Security: Repelling the Wily Hacker (2e), Addison Wesley Publishing Company, Inc.,
         (February, 2003).
       - Chapter 4, Communications Policy and Information Technology: Promises, Problems,
         Prospects, MIT Press, Lorrie Faith Cranor and Shane Mitchell Greenstein, eds., (2002).
       - Aviel D. Rubin, White-hat Security Arsenal, Addison Wesley Publishing Company, Inc.,
         (June, 2001).
       - Chapter 8, Publius and Chapter 14, Trust in Distributed Systems,
         Marc Waldman, Lorrie Faith Cranor, and Aviel D. Rubin, Peer-to-Peer, O'Reilly &
         Associates, Inc., (February, 2001).
       - Aviel D. Rubin, Daniel Geer, Marcus J. Ranum, Web Security Sourcebook, John Wiley &
         Sons, Inc , (June, 1997).
       - Ph.D. dissertation: Nonmonotonic Cryptographic Protocols (ps.gz, pdf), University of
         Michigan, Ann Arbor (April, 1994).



  Refereed Journal Publications
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         Healthcare, Communications of the ACM (July, 2015).
       - Ayo Akinyele, Christina Garman, Matthew D. Green, Ian Miers, Matthew Pagano, Aviel D.
         Rubin, Michael Rushanan, Charm: A Framework for Rapidly Prototyping Cryptosystems,
         Journal of Cryptographic Engineering (JCEN), (January, 2013).
       - Ryan Gardner, Sujata Garera, and Aviel D. Rubin, Detecting Code Alteration by Creating a
         Temporary Memory Bottleneck, IEEE Transactions on Information Forensics and Security:
         Special Issue on Electronic Voting, (December, 2009).
       - Matt Blaze, John Ioannidis, Angelos D. Keromytis, Tal Malkin, Avi Rubin, Anonymity in
         Wireless Broadcast Networks, International Journal of Network Security (IJNS), (January,
         2008).
       - Stephen Bono, Aviel Rubin, Adam Stubblefield, and Matthew Green, Security Through
         Legality, Communications of the ACM (June, 2006).
       - Adam Stubblefield, Dan S. Wallach, and Aviel D. Rubin, Managing the Performance Impact
         of Web Security, Electronic Commerce Research Journal, February, 2005.
       - David Jefferson, Aviel D. Rubin, Barbara Simons, David Wagner, Analyzing Internet Voting
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       - Simon Byers, Aviel D. Rubin, and David Kormann, Defending Against an Internet-based
         Attack on the Physical World, ACM Transactions on Internet Technology (TOIT), August,
         2004.
       - Adam Stubblefield, John Ioannidis, and Aviel D. Rubin, A Key Recovery Attack on the
         802.11b Wired Equivalent Privacy Protocol (WEP) (pdf), ACM Transactions on Information
         and System Security, May, 2004.
       - Aviel D. Rubin, Security Considerations for Remote Electronic Voting, Communications of
         the ACM (December, 2002).
       - Marc Waldman, Aviel D. Rubin, and Lorrie F. Cranor, The Architecture of Robust Publishing
         Systems, ACM Transactions on Internet Technology (TOIT), (November, 2001).
       - David P. Kormann and Aviel D. Rubin, Risks of the Passport Single Signon Protocol,
         Computer Networks, (July, 2000).
       - Christian Gilmore, David P. Kormann, and Aviel D. Rubin, Secure Remote Access to an
         Internal Web Server, IEEE Network, (November, 1999).
       - Fabian Monrose and Aviel D. Rubin, Keystroke Dynamics as a Biometric for Authentication,
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       - Michael K. Reiter and Aviel D. Rubin, Anonymity Loves Company: Anonymous Web
         Transactions with Crowds (ps.gz, pdf) Communications of the ACM (February, 1999).
       - Aviel D. Rubin and Daniel E. Geer, Jr., Mobile Code Security (ps.gz, pdf), IEEE Internet
         Computing (November/December, 1998).
       - Aviel D. Rubin and Daniel E. Geer, Jr., A Survey of Web Security, IEEE Computer,
         (September, 1998).
       - Michael K. Reiter and Aviel D. Rubin, Crowds: Anonymity for Web Transactions (ps.gz,
         pdf), ACM Transactions on Information and System Security, (June, 1998).
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         Cryptologia (April, 1997).
       - Aviel D. Rubin, Extending NCP for public Key Protocols, Mobile Networks and Applications
         (ACM/Balzer), 2(3) (April, 1997).
       - Aviel D. Rubin, Independent One-Time Passwords, (ps.gz, pdf) USENIX Journal of
         Computer Systems (February, 1996).
       - Aviel D. Rubin, Secure Distribution of Documents in a Hostile Environment, Computer
         Communications (June, 1995).

  Refereed Conference Publications
       - James Schaffter, Aviel Rubin and Lanier Watkins, A Containerization-Based Backfit
         Approach for Industrial Control System Resiliency, SafeThings '21 Workshop, (May, 2021).
       - Tushar Jois, Claudia Moncaliano, Khir Henderson, Aviel D. Rubin, WDPKR: Wireless
         Device Profiling Kit and Reconnaissance, 2021 Hot Topics in the Science of Security
         (HotSoS) Symposium (April, 2021) .
       - Jeffrey S. Chavis, Malcom Doster, Michelle Feng, Syeda Zeeshan, Samantha Fu, Elizabeth
         Aguirre, Antonio Davila, Kofi Nyarko, Aaron Kunz, Tracy Herriotts, Daniel Syed, Lanier
         Watkins, Anna Buczak, Aviel Rubin, A Voice Assistant for IoT Cybersecurity, Integrated
         STEM Education Conference (ISEC '21), (March, 2021).
       - Lanier Watkins, Danzel Hamilton, Kevin Kornegay, Aviel Rubin, Triaging Autonomous
         Drone Faults by Simultaneously Assuring Autonomy and Security in Autonomous Drones,
         55th Annual Conference on Information Sciences and Systems (CISS '21), (March, 2021).
       - Lanier Watkins, James Ballard, Kevin Hamilton, William H. Robinson, Aviel Rubin, Cleon
         Davis, Bio-Inspired, Host-based Firewall (Refereed WIP paper), 23rd IEEE International
         Conference on Computational Science and Engineering (CSE), (December, 2020).
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         Learning to Identify Security Risks of Personal Mobile Devices in Enterprise Networks, The
         11th IEEE Annual Ubiquitous Computing, Electronics, and Mobile Communications
         Conference (UEMCON), (October, 2020).
       - Lanier Watkins, Kevin D. Fairbanks, Chengyu Li, Mengdi Yang, William H. Robinson, Aviel
         D. Rubin, A Black Box Approach to Inferring Characterizing, and Breaking Native Device
         Tracking Autonomy, The 11th IEEE Annual Ubiquitous Computing, Electronics, and Mobile
         Communications Conference (UEMCON), (October, 2020).
       - Karl Siil, Aviel Rubin, Matthew Elder, Anton Dahbura, Matthew Green, Lanier Watkins,
         Mission Assurance for Autonomous Undersea Vehicles, IEEE Workshop on Assured
         Autonomous Systems (WAAS), (May, 2020).
       - Jeffrey Chavis, Aaron Kunz, Lanier Watkins, Anna Buczak, Aviel Rubin, A Capability for
         Autonomous IoT System Security: Pushing IoT Assurance to the Edge, IEEE Workshop on
         Assured Autonomous Systems (WAAS), (May, 2020).
       - Lanier Watkins, Shane Sartalamacchia, Richard Bradt, Karan Dhareshwar, Harsimar
         Bagga, William H. Robinson, Aviel Rubin, Defending Against Consumer Drone Privacy
         Attacks: A Blueprint For A Counter Autonomous Drone Tool, ISOC Workshop on
         Decentralized IoT Systems and Security (DISS 2020), (February, 2020).
       - Adrian Cartagena, Gerald Rimmer, Thomas Van Dalsen, Lanier Watkins, William H.
         Robinson, Aviel D. Rubin, Privacy Violating Opensource Intelligence Threat Evaluation
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         (January, 2020).
       - Jeffrey Chavis, Lanier Watkins, Anna Buczak, Aviel D. Rubin, Connected Home Automated
         Security Monitor (CHASM): Protecting IoT Through Application of Machine Learning, 10th
         Annual Computing and Communications Workshop and Confefence (IEEE CCWC 2020),
         (January, 2020).
       - Lanier Watkins, Shreya Aggarwal, Omotola Akeredolu, William H. Robinson and Aviel D.
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         D. Rubin, Joshua Ciocco, Felix Jedrzejewski, Jinglun Liu, Chengyu Li, Exploiting Multi-
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         Aerial Systems , ACM Workshop on Mobile IoT Sensing, Security, and Privacy (Mobile IoT
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       - Paul D. Martin, David Russel, Malek Ben Salem, Stephen Checkoway, Aviel D. Rubin,
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       - Gabriel Kaptchuk, Matthew D. Green and Aviel D. Rubin, Outsourcing Medical Dataset
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       - Michael Rushanan, David Russell and Aviel D. Rubin, MalloryWorker: Stealthy
         Computation and Covert Channels using Web Workers, Proceedings of the 12th
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         Applications of Secure Location Sensing in Healthcare, Proceedings of the 7th ACM
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       - Gabriel Kaptchuk and Aviel D. Rubin, A Practical Implementation of a Multi-Device Split
         Application for Protecting Online Poker , Proceedings of the 15th Annual Security
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       - Christina Garman, Matthew Green, Ian Miers, Aviel D. Rubin, Rational Zero: Economic
         Security for Zerocoin with Everlasting Anonymity, 1st Workshop on Bitcoin Research
         (March, 2014).
       - Paul Martin, Avi Rubin and Rafae Bhatti, Enforcing Minimum Necessary Access in
         Healthcare Through Integrated Audit and Access Control, Health Informatics Symposium at
         the ACM Conference on Bioinformatics, Computational Biology, and Biomedical
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         Zachary N. J. Peterson and Aviel D. Rubin, Securing Electronic Medical Records Using
         Attribute-Based Encryption On Mobile Devices, ACM CCS Workshop on Security and
         Privacy in Smartphones and Mobile Devices, (October, 2011).
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         Tiny TCB, Financial Cryptography Conference, (January , 2010).
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         Securing Medical Records on Smart Phones, Workshop on Security and Privacy in Medical
         and Home-Care Systems, (November, 2009).
       - Ryan Gardner, Sujata Garera, Aviel D. Rubin, Coercion Resistant End-to-end Voting,
         Financial Cryptography Conference, (February, 2009).
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         2008).
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         and Measurement of Phishing Attacks, 5th ACM Workshop on Recurring Malcode (WORM
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         Security, (November, 2007).
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         Machine Software with Software, In Proceedings of the 2nd USENIX/ACCURATE
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       - Sujata Doshi, Fabian Monrose, and Aviel D. Rubin, Efficient Memory Bound Puzzles using
         Pattern Databases, 4th International Conference on Applied Cryptography and Network
         Security (ACNS'06), (June, 2006).
       - Sophie Qiu, Patrick McDaniel, Fabian Monrose, and Avi Rubin, Characterizing Address
         Use Structure and Stability of Origin Advertisement in Interdomain Routing, 11th IEEE
         Symposium on Computers and Communications, (June 2006).
       - Zachary Peterson, Randal Burns, Joseph Herring, Adam Stubblefield, and Aviel D. Rubin,
         Secure Deletion for a Versioning Filesystem , Proc. USENIX Conference on File and
         Storage Technologies (FAST '05), (December, 2005).
       - Stephen C. Bono, Matthew Green, Adam Stubblefield, Ari Juels, Aviel D. Rubin, Michael
         Szydlo, Security Analysis of a Cryptographically-Enabled RFID Device 14th USENIX
         Security Symposium, (August, 2005).
       - Tadayoshi Kohno, Adam Stubblefield, Aviel D. Rubin, and Dan S. Wallach, Analysis of an
         Electronic Voting System, Proc. IEEE Symposium on Security and Privacy (May, 2004).
       - Nathanael Paul, David Evans, Aviel D. Rubin and Dan Wallach, Authentication for Remote

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         Voting, ACM Workshop on Human-Computer Interaction and Security Systems (April,
         2003).
       - Matt Blaze, John Ioannidis, Angelos D. Keromytis, Tal Malkin, and Aviel Rubin, Protocols
         for Anonymity in Wireless Networks, Proc. 11th International Workshop on Security
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       - Geoffrey Goodell, William Aiello, Timothy Griffin, John Ioannidis, Patrick McDaniel, Aviel
         Rubin, Working Around BGP: An Incremental Approach to Improving Security and
         Accuracy of Interdomain Routing , Proc. ISOC Symposium on Network and Distributed
         System Security (February, 2003).
       - Simon Byers, Aviel D. Rubin, David Kormann, Defending Against an Internet-based Attack
         on the Physical World (pdf), ACM Workshop on Privacy in the Electronic Society
         (November, 2002).
       - Adam Stubblefield, John Ioannidis, and Aviel D. Rubin, Using the Fluhrer, Mantin, and
         Shamir Attack to Break WEP, Proc. ISOC Symposium on Network and Distributed System
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       - Aviel D. Rubin, Security Considerations for Remote Electronic Voting, 29th Research
         Conference on Communication, Information and Internet Policy (TPRC2001), (October,
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       - Aviel D. Rubin and Rebecca N. Wright, Off-line generation of limited-use credit card
         numbers, (ps.gz, pdf) Financial Cryptography Conference, (February, 2001).
       - Marc Waldman, Aviel D. Rubin, and Lorrie F. Cranor, Publius, A robust, tamper-evident and
         censorship-resistant web publishing system, 9th USENIX Security Symposium, (August,
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       - David P. Kormann and Aviel D. Rubin, Risks of the Passport Single Signon Protocol, 9th
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       - Ian Jermyn, Alain Mayer, Fabian Monrose, Michael K. Reiter, and Aviel D. Rubin, The
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         Internal Web Server, (ps.gz, pdf), Proc. ISOC Symposium on Network and Distributed
         System Security (February, 1999).
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       - Fabian Monrose and Aviel D. Rubin, Authentication via Keystroke Dynamics (ps, pdf), 4th
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       - Trent Jaeger, Aviel D. Rubin and Atul Prakash, A System Architecture for Flexible Control
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  Patents
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         Environment", US Patent Number 5,638,446, (June 10, 1997).

  Professional Activities
       - Board of Directors
            - Director, Maryland Israel Development Center (MIDC), (2013 - 2018).
            - Director, USENIX Organization, elected by popular vote (2000 - 2004).

       - Editorial and Committees
             - Chair: IEEE Security & Privacy Symposium Test of Time Awards Committee for
               2008-2010 Conferences, May, 2020.
             - Associate Editor: IEEE Transactions on Information Forensics and Security (2009-
               2011).
             - Associate Editor: Communications of the ACM (CACM), 2009 - 2017.
             - Guest Co-Editor: IEEE Transactions on Information Forensics and Security: Special
               Issue on Electronic Voting, December 1, 2009.
             - Guest Co-Editor: IEEE Security & Privacy Magazine, Special Issue on Electronic
               Voting, October/November, 2007.
             - Associate Editor: IEEE Transactions on Software Engineering (2005-2006).
             - Editorial and Advisory Board: International Journal of Information and Computer
               Security (IJICS) (2004-2006).
             - Guest Co-Editor: IEEE Computer Networks, Special Issue on Web Security,
               January, 2005.
             - Editorial Board: Journal of Privacy Technology (2004-2006).
             - Guest Co-Editor: IEEE Security & Privacy Magazine, Special Issue on Electronic
               Voting Security, January/February, 2004.
             - Member: Security Peer Review Group (SPRG) of the Federal Voting Assistance
               Program's (FVAP) Secure Electronic Registration and Voting Experiment (SERVE)
               Project, 2003-2004.
             - Member: DARPA Information Science And Technology Study Group (2003-2006).
             - Associate Editor: IEEE Security & Privacy Magazine (2003-present).
             - Guest Editor: Communications of the ACM, Special Issue on Wireless Networking
               Security, May, 2003.
             - Associate Editor: ACM Transactions on Internet Technology (2002-2005).
             - Executive Committee Member: DIMACS Workshop Series with Special Focus on
               Network Security (2002-2004).

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                   - Advisory Board Member: Information Security and Cryptography Book Series,
                     Springer, 2001-2006.
                   - Member: Steering Group, ISOC Symposium on Network and Distributed System
                     Security, 2001-2004.
                   - Member: Government Infosec Science and Technology Study Group on malicious
                     code, 1999 - 2000.
                   - Member: AT&T Internet Intellectual Property Review Team, 1999 - 2001.
                   - Associate Editor: Electronic Commerce Research Journal, Baltzer Science
                     Publishers, 1999 - 2002.
                   - Co-Editor: Electronic Newsletter of the IEEE Technical Committee on Security &
                     Privacy, with Paul Syverson, 1998.
                   - Editorial Board: Bellcore Security Update Newsletter, 1995-1996.

       - Conference Committees
            - Program Committee member: NDSS Workshop: Innovative Secure IT Technologies
              Against COVID-19, San Diego, CA, February, 2020.
            - Program Committee member: Financial Cryptography '15 Barbados, February, 2015.
            - Program Committee member: USENIX HealthTech Workshop on Health Information
              Technologies (HealthTech ’15), August 11, 2015.
            - Program Co-chair: (w/Eugene Vasserman) USENIX HealthTech Workshop on
              Health Information Technologies (HealthTech ’14), August 19, 2014.
            - Program Committee member: 2nd USENIX Workshop on Health Security and Privacy
              (HealthSec '11), August 9, 2011.
            - Program Co-chair: (w/Kevin Fu & Yoshi Kohno), 1st USENIX Workshop on Health
              Security and Privacy (HealthSec '10), August 10, 2010.
            - Program Committee member: First Security and Privacy in Medical and Home-Care
              Systems Workshop (SPIMACS), Chicago, IL, November 13, 2009.
            - Invited Talks Co-Coordinator: 17th USENIX Security Symposium, San Jose, CA, July
              28 - August 1, 2008.
            - Program Co-chair: (w/Patrick McDaniel): IEEE Symposium on Security and Privacy,
              Oakland, California, May 18-22, 2008.
            - Program Co-chair: (w/Giovani Di Crescenzo): Financial Cryptography '06 Anguilla
              BWI, February, 2006.
            - Program Committee member: IEEE Symposium on Security and Privacy, Oakland,
              California, May 9-12, 2004.
            - Program Committee member: Financial Cryptography '04 Key West, Florida,
              February 9-12, 2004.
            - Program Committee member: 2nd ACM SIGSAC Workshop on Privacy in the
              Electronic Society Washington D.C., October 30, 2003.
            - Program Committee member: 10th ACM Conference on Computer and
              Communications Security, Washington D.C., October 27-30, 2003.
            - Program Committee member: 8th European Symposium on Research in Computer


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                     Science (ESORICS), Norway, October 13-15, 2002.
                   - Program Vice Chair: Security and Privacy Track, The Twelfth International World
                     Wide Web Conference, Budapest, Hungary, May 20-24, 2003.
                   - Program Committee member: IEEE Symposium on Security and Privacy, Oakland,
                     California, May 11-14, 2003.
                   - Program Committee member: Workshop on Security and Assurance in Ad hoc
                     Networks, Orlando, FL, January 28, 2003.
                   - Program Committee member: 4th International Conference on Information and
                     Communications Security (ICICS), Kent Ridge Digital Labs (KRDL), Singapore
                     December 9-12, 2002.
                   - Program Committee member: ACM SIGSAC Workshop on Privacy in the Electronic
                     Society Washington D.C., November 21, 2002.
                   - Program Committee member: 9th ACM Conference on Computer and
                     Communications Security, Washington D.C., November 17-21, 2002.
                   - Program Committee member: 5th International Conference on Electronic Commerce
                     Research (ICECR-5), Montreal, Canada, October 23-27, 2002.
                   - Program Committee member: 2nd Symposium on Requirements Engineering for
                     Information Security (SREIS), Raleigh, North Carolina, Oct 14-15, 2002.
                   - Program Committee member: 7th European Symposium on Research in Computer
                     Science (ESORICS), Zurich, Switzerland, October 14-16, 2002.
                   - Program Committee member: 11th USENIX Security Symposium, San Francisco, Ca,
                     August 5-9, 2002.
                   - Program Committee member: International Workshop on Global and Peer-to-Peer
                     Computing at IEEE International Symposium on Cluster Computing and the Grid
                     (CCGrid'2002), Berlin, Germany, May 21-24, 2002.
                   - Program Committee member: 11th International World Wide Web Conference
                     Honolulu, Hawaii, May 7-11, 2002.
                   - Program Committee member: 2nd Workshop on Privacy Enhancing Technologies San
                     Francisco, CA, April 14-15, 2002.
                   - Program Committee member: The 1st International Workshop on Peer-to-Peer
                     Systems (IPTPS'02) MIT Faculty Club, Cambridge, MA, March 7-8, 2002.
                   - Program Committee member: The 4th International Conference on
                     Telecommunications and Electronic Commerce Dallas, TX, November, 2001.
                   - Program Committee member: 10th USENIX Security Symposium, Washington D.C.,
                     August 13-17, 2001.
                   - Program Committee member: Financial Cryptography '01 Grand Cayman, Cayman
                     Islands, BWI, February, 2001.
                   - Program Co-chair: (w/Paul Van Oorschot): ISOC Symposium on Network and
                     Distributed System Security, San Diego, CA, February 7-9, 2001.
                   - Program Committee member: The 3rd International Conference on
                     Telecommunications and Electronic Commerce Dallas, TX, November 16-19, 2000.
                   - Program Committee member: 9th USENIX Security Symposium, Denver, Colorado,


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                     August 14-17, 2000.
                   - Program Committee member: Workshop on Design Issues in Anonymity and
                     Unobservability Berkeley, California, July 25-26, 2000.
                   - Program Committee member: Performance and Architecture of Web Servers (PAWS),
                     Santa Clara, CA, June 18, 2000.
                   - Program Co-chair: (w/Gene Tsudik): ISOC Symposium on Network and Distributed
                     System Security, San Diego, CA, February 2-4, 2000.
                   - Program Committee member: 1999 International Information Security Workshop
                     (ISW'99), Kuala Lumpur, Malaysia, November 6-7, 1999.
                   - Program Committee member: 2nd Int'l. Conference on Telecommunications and
                     Electronic Commerce, Nashville, TN, October 6-8, 1999.
                   - Invited Talks coordinator: 8th USENIX Security Symposium, Washington D.C.,
                     August, 1999.
                   - Program Chair: 24th USENIX Annual Technical Conference, Monterey, CA, June 7-
                     11, 1999.
                   - Program Committee member: 8th International World Wide Web Conference ,
                     Toronto, Canada, May 11-14, 1999.
                   - Program Committee member: 3rd USENIX workshop on Electronic Commerce ,
                     Boston, MA, August 31 - September 3, 1998.
                   - Program Committee member: 5th ACM Conference on Computer and
                     Communications Security, San Francisco, CA, November 3-5, 1998.
                   - Program Chair: 7th USENIX Security Symposium, San Antonio, TX, Jan. 26-29,
                     1998.
                   - Program Committee member: 4th ACM Conference on Computer and
                     Communications Security, Zurich, Switzerland, April 2-4, 1997.
                   - Program Committee member: 6th USENIX Security Symposium, San Jose, CA, July
                     22-25, 1996.
                   - Program Committee member: ISOC Symposium on Network and Distributed System
                     Security, San Diego, CA, February 22-23, 1996.

       - Panels
            - Panel Organizer and Moderator: USENIX Security Conference: The 2020 Election:
              Remote Voting, Disinformation, and Audit (August 12, 2020).
            - Panelist: Cardozo Society Associated panel: Cybersecurity and Privacy Law in the
              Digital Era, Baltimore, MD (February 19, 2020).
            - Panelist: Washington Post panel: Hacking Health, Washington DC (June 14, 2016).
            - Panelist: Financial Cryptography Conference, Security & Privacy, Barbados
              (February 24, 2016).
            - Panelist: RSA Conference, Social Networks Security Panel, San Francisco, CA (April
              21, 2015).
            - Panelist: Expert Witness in Mock Trial: FTC Data Security, 63rd American Bar
              Association Section of Antitrust Law Spring Meeting Washington DC, (April 15, 2015).


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                   - Panelist: Security in Electronic Medical Records Databases, Medicine 2.0
                     Workshop, Haifa, Israel, (April 7, 2011).
                   - Panelist: Security in the Cloud, Workshop on Cloud Security, Israeli Defense Ministry,
                     Tel Aviv, Israel, (February 15, 2011).
                   - Panelist: Securing Information Technology in Healthcare (SITH), Security and
                     Usability of Electronic Health Records, Dartmouth College, NH, (May 17, 2010).
                   - Panelist: First Security and Privacy in Medical and Home-Care Systems Workshop
                     (SPIMACS), Authentication in iHealthcare, Chicago, IL, (November 13, 2009).
                   - Panelist: Computers, Freedom, and Privacy Conference, Internet Voting for
                     Overseas Americans, Washington DC, (June 4, 2009).
                   - Panelist: Workshop on Electronic Voting, Electronic Voting: Future Aspirations, Tel
                     Aviv, Israel (May 18, 2009).
                   - Panelist: RSA Conference, Exploiting Online Games, San Francisco, CA (April 23,
                     2009).
                   - Panelist: American Association for the Advancement of Science, Revisiting the U.S.
                     Voting System: A Research Inventory, Technology, Usability, and Security panel,
                     Washington DC, (November 27, 2006).
                   - Panelist: California Secretary of State's Voting System Testing Summit, Security
                     Panel, Sacramento, CA, (November 28-29, 2005).
                   - Panelist: NIST Symposium on Voting System Threats, Configuration and Usability
                     Threats, Gaithersburg, MD, (October 7, 2005).
                   - Panelist: Conference of State Supreme Court Chief Justices, Voting Technologies,
                     Charleston, SC (August 1, 2005).
                   - Panelist: Workshop on observation of automated elections, The Carter Center,
                     Atlanta, GA (March 18, 2005).
                   - Panelist: The Carter Center Venezuela Virtual Panel, (November, 2004).
                   - Panelist: Workshop on Voting, Vote Capture and Vote Counting, Harvard Kennedy
                     School of Government, The Technologies of Voting, Cambridge, MA (June 1, 2004).
                   - Panelist: Computer Science and Telecommunications Board of The National
                     Academy of Science Workshop on Dependable Software Systems, Case Study:
                     Electronic Voting Washington D.C. (April 20, 2004).
                   - Panelist: USENIX Security 2003, Electronic Voting, Washington D.C. (August 6,
                     2003).
                   - Panelist: Democracy Now, 2003, Voter-Verifiable Elections: How Do We Get There?,
                     Washington D.C. (November 23, 2003).
                   - Panelist: USENIX Security 2003, Electronic Voting, Washington D.C. (August 6,
                     2003).
                   - Panelist: IEEE Infocom 2002, Securing Wireless and Mobile Networks - Is It
                     Possible?, New York City (June 25, 2002).
                   - Participant: 2002 Security Visionary Roundtable: A Roadmap for a Safer Wireless
                     World, Washington D.C., (May 5-7,2002).
                   - Panelist: Computers Freedom and Privacy 2002, Who Goes There? Privacy in


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                     Identity and Location Services, San Francisco (April 18, 2002).
                   - Panel moderator: Conference on Democracy and the Internet in an Enlarging
                     Europe Overview of On-Line Voting: Systems and Issues, New York, NY (March,
                     2001).
                   - Panelist: Financial Cryptography 2001, The Business of Electronic Voting, Grand
                     Cayman (February, 2001).
                   - Panelist: National Science Foundation E-voting workshop, Washington, D.C.,
                     (October, 2000).
                   - Panelist: 5th ACM Conference on Computer and Communications Security,
                     Anonymity on the Internet, San Francisco, CA, (November 1998).
                   - Panelist: Open Systems Security and ISSA Annual Conference, Securing the Web,
                     Orlando, FL (March, 1998).
                   - Panel organizer and moderator: Implementation Issues for Electronic Commerce:
                     What Every Developer Should Know. ISOC Symposium on Network and Distributed
                     System Security, (March, 1998).
                   - Panel organizer and moderator: Downloadable Executable Content - Past, Present
                     and Future. ISOC Symposium on Network and Distributed System Security (February,
                     1997).
                   - Panelist: DIMACS Workshop on Network Threats, Web/Java Security Issues, New
                     Brunswick, NJ (December 5, 1996).

       - Tutorials Taught
             - The Mathematics of Information Technology and Complex Systems Network
               (MITACS), Network Security, (May 8, 2003).
             - IEEE Infocom 2002, End to End Web Security and E-commerce, (June 23, 2002).
             - 2002 USENIX Annual Technical Conference, Introduction to Computer Security,
               (June 10, 2002).
             - LISA 2001, 15th Systems Administration Conference, Introduction to Computer
               Security, (December, 2001).
             - 8th & 9th USENIX Security Symposia, Cryptography - From the Basics Through PKI
               in 23,400 Seconds, (August, 2000) & (August 1999), with Dan Geer.
             - 9th International World Wide Web Conference, Security on the World Wide Web,
               (May, 2000).
             - ISOC Symposium on Network and Distributed System Security, Cryptography 101,
               (February, 2000).

  Testimony
  Before Government Bodies
     - United Stated House Committee on Administration, Full Committee Hearing - Exploring
        the Feasibility and Security of Technology to Conduct Remote Voting in the House, Live
       via WebEx, (July 17, 2020).


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       - Maryland House, Expert Testimony, Hearing on HB 888, Consumer Protection - Security
         Features for Connected Devices, Economic Matters Committee, Annapolis, MD, (February
         26, 2020).
       - Maryland Senate, Expert Testimony, Hearing on SB 443 Security Features for Connected
         Devices, Finance Committee, Annapolis, MD, (February 19, 2020).
       - Maryland Senate, Expert Testimony, Hearing on SB 553/HB 1276 Security Features for
         Connected Devices, Finance Committee, Annapolis, MD, (February 26, 2019).
       - United States Pentagon, High Level Security Briefing on the Security of Embedded
         Devices (January 15, 2014).
       - United Stated House Committee on Science, Space, and Technology, Full Committee
         Hearing - Is My Data on Healthcare.gov Secure?, Washington, D.C., (November 19, 2013).
       - United Stated House Committee on Oversight and Government Reform, hearing on
         electronic voting, Washington, D.C., (April 18, 2007).
       - United Stated House Committee on Appropriations, hearing on ensuring the integrity of
         elections, Washington, D.C., (March 7, 2007).
       - Maryland Senate Committee on Education, Health, and Environmental Affairs, Expert
         Testimony, Hearing on Senate Bill 392 for Voter-Verified Records in Voting Systems,
         Annapolis, MD, (February 22, 2007).
       - Maryland House Ways and Means Committee, Expert Testimony, Hearing on House Bill 18
         for improving voting systems in Maryland, Annapolis, MD, (February 1, 2007).
       - Maryland House Ways and Means Committee, Expert Testimony, Hearing on House Bill
         244 requiring a voter verified paper record for voting machines in Maryland, Annapolis, MD,
         (February 1, 2006).
       - United States Election Assistance Commission, Hearing on Voluntary Voting Systems
         Guidelines, Expert Testimony, Panel on Voter Verified Paper Audit Trail, Washington D.C.
         (June 30, 2005).
       - Senate hearing: Voting in 2004: A Report to the Nation on America's Election Process,
         Expert Testimony, Absentee Ballot Panel, Dirksen Senate Office Building, Washington, DC
         (December 7, 2004).
       - United States Election Assistance Commission, Technical Guidelines Development
         Committee, Technology Panel, Expert Testimony, Public Hearings on Computer Security
         and Transparency, National Institute of Standards and Technology, Gaithersburg, MD,
         (September 20, 2004).
       - United States House Subcommittee on Technology, Information Policy, Intergovernmental
         Relations and the Census, Expert Testimony, Hearing on Electronic Voting, Washington,
         D.C. (July 20, 2004).
       - United States House Committee on House Administration, Expert Testimony, Hearing on
         Security of Electronic Voting, Washington, D.C. (July 7, 2004).
       - United States Federal Trade Commission, Written Expert Testimony, on a proposed Do Not
         Email Repository, (May 10, 2004).
       - United States Election Assistance Commission, Expert Testimony, Hearing on Electronic
         Voting Security, Technology Panel, Washington D.C. (May 5, 2004).


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  As an Expert in Litigation
     - California Physicians Service, Inc D/B/A Blue Shield of California vs. Healthplan
       Services Inc, Case # 3:18-cv-3730 Latham & Watkins, United States District Court,
       Northern District of California. (Contract Dispute: Software Quality and Security)
           - Expert Testimony at deposition, Pikesville, MD (March 9, 2021).
     - Finjan vs. Qualys Inc., Case # 4:18-cv-07229-YGR, Wilson Sonsini, United States District
       Court, Northern District of California. (patent invalidity and non-infringement)
           - Expert Testimony at deposition, Pikesville, MD (March 4, 2021).
     - Finjan vs. Sonicwall Inc., Case # 5:17-cv-04467-BLF-HRL, Duane Morris, United States
       District Court, Northern District of California. (patent invalidity and non-infringement)
           - Expert Testimony at deposition, Pikesville, MD (October 30, 2020).
           - Expert Testimony at deposition, Pikesville, MD (October 29, 2020).
     - TecSec Inc vs. Cisco, Case # 1:10-CV 115 LO-TCB; Hunton & Williams, United States
       District Court, Eastern District of Virginia. (Patent Infringement, Patent Validity)
           - Expert Testimony at deposition, Annapolis, MD (September 14, 2020).
     - TecSec Inc vs. Oracle, Case # 1:10-CV 115 LO-TCB; Hunton & Williams, United States
       District Court, Eastern District of Virginia. (Patent Infringement, Patent Validity)
           - Expert Testimony at deposition, Annapolis, MD (September 11, 2020).
     - Blackberry Limited vs. Facebook, Inc, Case #2:18-cv-01844 (KSx), Quinn Emanuel
       Urquhart & Sullivan, LLP, United States District Court, Central District of California.
           -Expert Testimony at Deposition, Baltimore, MD (December 20, 2019). (patent
           infringement & patent validity)
     - Netfuel, Inc. vs. Cisco Systems, Inc, Case # 5:18-cv-2352-EJD, Susman Godfrey, United
       States District Court, Northern District of California.
           -Expert Testimony at Deposition, Baltimore, MD (December 16 & 17, 2019). (patent
           infringement & patent validity)
           -Expert Testimony at Deposition, Baltimore, MD (June 11, 2019). (patent infringement)
           -Expert Testimony at Markman Hearing, San Jose, CA (February 28, 2019). (courtroom
           tutorial)
           -Expert Testimony at deposition, Baltimore, MD (December 20, 2018). (claim
           construction)
     - Symantec Corporation vs. Zscaler, Inc., Case # 3:17-CV-04414-JST, Baker Botts, United
       States District Court, Northern District of California.
           -Expert Testimony at Deposition, Baltimore, MD (December 6, 2019). (patent
           infringement)
           -Expert Testimony at Deposition, Baltimore, MD (August 2, 2019). (Assignor Estoppel)
     - Koninklijke Philips vs. Microsoft Inc, Case # 4:18-cv-01885-HSG, Perkins Coie, United
       States District Court, Northern District of California. (patent non-infringement and patent
       invalidity)
           -Expert Testimony at Deposition, Baltimore, MD (July 17, 2019).
     - Cypress Lake Software, Inc. vs. Samsung Electronics & Dell Inc, Case # 6:18-cv-030-


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         JKD and 6:18-cv-0138-JDK, Garteiser Honea, United States District Court, Eastern District
         of Texas. (patent infringement and patent validity)
             -Expert Testimony at Deposition, Baltimore, MD (July 10-11, 2019).
       - Finjan vs. Juniper Networks, Case # 3:17-cv-05659-WHA , Irell and Manella, United
         States District Court, Northern District of California.
             -Expert Testimony at deposition, Baltimore, MD (April 2, 2019). (patent non-
             infringement)
             -Expert Testimony at deposition, San Francisco, CA (March 9, 2019). (patent non-
             infringement)
             -Expert Testimony at trial, San Francisco, CA (December 13, 2018). (patent non-
             infringement and invalidity)
             -Expert Testimony at deposition, Baltimore, MD (November 9, 2018). (patent non-
             infringement and invalidity)
             -Expert Testimony at deposition, Baltimore, MD (July 6, 2018). (patent non-
             infringement)
             -Expert Testimony at deposition, Baltimore, MD (June 12, 2018). (patent non-
             infringement)
       - Grace et. al. vs. Apple Inc., Case # 5:17-CV-00551-LHK (NC), Durie Tangri, United States
         District Court, Northern District of California. (class action)
             -Expert Testimony at deposition, Towson, MD (September 26, 2018).
       - Rimini Street, Inc. vs. Oracle International Corporation, et. al., Case # 2:14-CV-01699
         LRH-CWH, Gibson Dunn, United States District Court, District of Nevada. (Software
         security)
             -Expert Testimony at deposition, Baltimore, MD (August 30, 2018).
       - Grace et. al. vs. Apple Inc., Case # 5:17-CV-00551-LHK (NC), Kirkland & Ellis, United
         States District Court, Northern District of California. (class certification)
             -Expert Testimony at deposition, Pikesville, MD (July 3, 2018).
       - F5 Networks, Inc. vs. Radware, LTD., IPR 2017-00124, Perkins Coie, US Patent Trial and
         Appeal Board. (patent Invalidity)
             -Expert Testimony at deposition, Baltimore, MD (January 24, 2018).
       - Amazon.com Inc., Hulu, LLC, and Netflix, Inc, vs. Uniloc Luxembourg S.A., IPR 2017-
         00948, Perkins Coie, US Patent Trial and Appeal Board. (patent Invalidity)
             -Expert Testimony at deposition, Baltimore, MD (October 9, 2017).
       - Phishme, Inc. vs. Wombat Technologies, Inc, Case # 16-403-LPS-CJB, K&L Gates,
         United States District Court, Delaware. (patent claim construction)
             -Expert Testimony at deposition, Washington DC, (October 5, 2017).
       - Finjan vs. Symantec Corporation., Case # 14-cv-02998-HSG, Quinn Emanuel, United
         States District Court, Northern District of California. (patent invalidity and non-infringement)
             -Expert Testimony at deposition, Baltimore, MD (September 14-15, 2017).
       - Kudelski SA, Nagra USA, Inc., Nagravision SA, and OpenTV, Inc. vs. Comcast
         Corporation, Case # 2:16-cv-1362-JRG, Covington, United States District Court, Eastern
         District of Texas. (patent claim construction).


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              -Expert Testimony at deposition, Baltimore, MD (September 1, 2017).
       - F5 Networks, Inc. vs. Radware, LTD., IPR 2017-00124, Perkins Coie, US Patent Trial and
         Appeal Board. (patent Invalidity)
              -Expert Testimony at deposition, Baltimore, MD (August 10, 2017).
       - Intellectual Ventures vs. JP Morgan Chase & Co., Case # 1:13-cv-03777, Kirkland & Ellis,
         United States District Court, Southern District of New York. (Patent non-infringement).
              -Expert Testimony at deposition, Baltimore, MD (June 1, 2017).
       - Nader Asghari-Kamrani and Kamran Asghari-Kamrani vs. United Services Automobile
         Association. Case # 2:15-CV-478, Fish & Richardson, United States District Court,
         Eastern District of Virginia. (Patent Written Description Support related to Inequitable
         Conduct).
              -Expert Testimony at trial, Norfolk, VA (April 21, 2017).
              -Expert Testimony at deposition, Baltimore, MD (March 21, 2017).
       - Sabre GLBL Inc, vs. HP Enterprise Services LLC. Case # 1310022761, JAMS Binding
         Arbitration Hearing, Dallas, TX (Contract dispute).
              -Expert Testimony at arbitration hearing, Dallas, TX (April 5, 2017).
       - Al Cioffi et. al. vs. Google, Case # 2:13-cv-103-JRG-RSP, Vasquez, Benisek & Lindgren,
         United States District Court, Eastern District of Texas. (patent Infringement).
              -Expert Testimony at trial, Marshall, TX (February 7, 2016).
              -Expert Testimony at deposition, Baltimore, MD (September 26, 2016).
       - Palo Alto Networks vs. Finjan, IPR 2015-01979, Cooley, US Patent Trial and Appeal
         Board. (patent Invalidity)
              -Expert Testimony at deposition, Baltimore, MD (November 14, 2016).
       - Palo Alto Networks vs. Finjan, IPR 2016-00151, Morrison & Foerster, US Patent Trial and
         Appeal Board. (patent Invalidity)
              -Expert Testimony at deposition, Baltimore, MD (August 19, 2016).
       - Palo Alto Networks vs. Finjan, IPR 2015-01974, Cooley, US Patent Trial and Appeal
         Board. (patent Invalidity)
              -Expert Testimony at deposition, Baltimore, MD (August 2, 2016).
       - Palo Alto Networks vs. Finjan, IPR 2015-02001 & IPR 2016-00157, Cooley, US Patent
         Trial and Appeal Board. (patent Invalidity)
              -Expert Testimony at deposition, Baltimore, MD (July 26 & 27, 2016).
       - Amazon.com, Inc vs. Zitovault, LLC, IPR 2016-00021, Perkins Coie, US Patent Trial and
         Appeal Board. (patent Invalidity)
              -Expert Testimony at deposition, Baltimore, MD (July 22, 2016).
       - Palo Alto Networks vs. Finjan, IPR 2015-01979, Cooley, US Patent Trial and Appeal
         Board. (patent Invalidity)
              -Expert Testimony at deposition, Baltimore, MD (May 20, 2016).
       - Vir2us Inc. v. Invincea, Inc. and Invincea Labs, LLC, Case # 2:15cvl62; Cooley, United
         States District Court, Eastern District of Virginia. (Patent Non-Infringement and Invalidity)
              -Expert Testimony at deposition, Reston, VA (April 20, 2016).
       - TVIIM. v. McAfee Inc., Case # 3:13-cv-04545-VC; Wilmer Hale, United States District


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         Court, District of N. California. (Patent Non-Infringement and Invalidity)
              -Expert Testimony at trial, San Francisco, CA (July, 2015).
              -Expert Testimony at deposition, Baltimore, MD (February, 2015).
       - Intellectual Ventures vs. Symantec, Case # 1:10-cv-01067-LPS; Latham & Watkins, United
         States District Court, District of Delaware. (Patent Invalidity)
              -Expert Testimony at trial, Wilmington, DE (February, 2015).
              -Expert Testimony at deposition, Baltimore, MD (May, 2013).
       - Rovi Solutions & Veracode vs. Appthority, Case # 12-10487-DPW; Goodwin Procter,
         United States District Court, District of Massachusetts. (Patent Infringement and Validity)
              -Expert Testimony at trial, Boston, MA (August 11, 2014).
              -Expert Testimony at deposition, Baltimore, MD (April 4, 2014).
       - Juniper vs. Palo Alto Networks, Case # 1:11-CV-01258-SLR; Irell & Manella, United States
         District Court, District of Delaware. (Patent Infringement)
              -Expert Testimony at trial, Wilmington, DE (February, 2014).
              -Expert Testimony in court hearing, Wilmington, DE (November 14, 2013).
              -Expert Testimony at deposition, Baltimore, MD (June, 2013).
       - Prism Technologies. v. Adobe Systems Inc., Case # 8:10-cv-00220-LES-TDT; DLA Piper,
         United States District Court, District of Nebraska. (Patent Invalidity)
              -Expert Testimony at deposition, Baltimore, MD (August, 2012).
       - Finjan Inc. vs. McAfee, Inc., Case # 10-593 (GSM), Kirkland & Ellis, United States District
         Court, District of Delaware. (Patent Non-Infringement)
              -Expert Testimony at deposition, Washington, DC (June, 2012).
       - Avaya Inc. vs. Telecom Labs Inc,. TeamTLI.com Corp., and Continuant Technologies,
         Case # 3:06-cv-02490 (GEB); K&L Gates, United States District Court, District of New
         Jersey. (Contract Dispute)
              - Expert Testimony at deposition, Newark, NJ (August, 2011).
       - Lear Automotive vs. Johnson Controls Inc (JCI), Case # 04-CV-73461; Flachsbart &
         Greenspoon, United States District Court, Eastern District of Michigan. (Patent
         Infringement and Validity)
              - Expert Testimony at trial, Detroit, MI (February, 2011).
              - Expert Testimony at deposition, Baltimore, MD (December, 2005).
       - TecSec Inc vs. International Business Machines Corporation, Case # 1:10-CV 115
         LMB/TCB; Hunton & Williams, United States District Court, Eastern District of Virginia.
         (Patent Infringement)
              - Expert Testimony at deposition, Newark, NJ (November, 2010).
       - Echostar Satellite Corporation vs. NDS Group, Case # SA CV 03-950 DOC(JTL);                 T.
         Wade Welch & Associates, United States District Court, Central District of California.
         (Copyright and DMCA)
              - Expert Testimony at trial, Santa Ana, CA (April, 2008).
              - Expert Testimony at deposition, Santa Ana, CA (April, 2008).
              - Expert Testimony at deposition, Baltimore, MD (October, 2007).
       - Web.com Inc vs. The Go Daddy Group Inc., Case # CV07-01552-PHX-MHM; Graves Law


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         Office, United States District Court, Arizona. (Patent Infringement)
              - Expert Testimony at Markman hearing, Phoenix, Az (July, 2008).
              - Expert Testimony at deposition, Baltimore, MD (May, 2008).
       - z4 Technologies vs. Microsoft & Autodesk, Case # 2:04-CV-00335-LED; Fish &
         Richardson, United States District Court, Eastern District of Texas. (Patent Non-
         Infringement and Invalidity)
              - Expert Testimony at trial, Tyler, TX, (April, 2006).
              - Expert Testimony at deposition, Washington DC (January, 2006).
       - Linda Schade vs. Linda Lamone et. al., Trial on the Legality of Paperless Voting Machines
         in Maryland. (Adequacy of Voting Equipment)
              - Expert Testimony at trial, Annapolis, MD (August 25, 2004).



  Awards
       - 2020, Best Paper Award, in the category of Mobile & Wireless Computing, 11th IEEE
         Annual Ubiquitous Computing, Electronics, and Mobile Communications Conference
         (UEMCON), October, 2020.
       - 2020, Best Paper Award, in the category of Image Processing & Multimedia Technology,
         11th IEEE Annual Ubiquitous Computing, Electronics, and Mobile Communications
         Conference (UEMCON), October, 2020.
       - IEEE Computer Society Technical Committee on Security and Privacy, Distinguished
         Service Award, May, 2020.
       - Fulbright Scholar in Israel at Tel Aviv University, academic year 2010-2011.
       - 2009, Google Research Award, Securing Medical Records on Smartphones.
       - Chosen as one of 54 favorite people, places and things in Jewish Baltimore, Baltimore
         Jewish Times, February 22, 2008.
       - 2007 Award for Outstanding Research in Privacy Enhancing Technologies, for Security
         Analysis of a Cryptographically-Enabled RFID Device (with Stephen C. Bono, Matthew
         Green, Ari Juels, Adam Stubblefield, Michael Szydlo).
       - 2005 Best Student Paper Award at the 14th USENIX Security Symposium, Security
         Analysis of a Cryptographically-Enabled RFID Device (with Stephen C. Bono, Matthew
         Green, Ari Juels, Adam Stubblefield, Michael Szydlo).
       - 2004 Electronic Frontiers Foundation Pioneer Award.
       - Baltimorean of the Year, Baltimore Magazine, January, 2004.
       - 2001 Index on Censorship Freedom of Expression Award for the Best Circumvention of
         Censorship for the Publius project.
       - 2000 Best Paper Award at the 9th USENIX Security Symposium, A robust, tamper-evident
         and censorship-resistant web publishing system (with Marc Waldman and Lorrie Cranor).
       - 1999 Best Paper Award & Best Student Paper Award at the 8th USENIX Security
         Symposium, The Design and Analysis of Graphical Passwords (with Ian Jermyn, Alain
         Mayer, Fabian Monrose, and Michael K. Reiter).
       - 1996 Co-author of Best Student Paper, Building Systems that Flexibly Control

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         Downloaded Executable Content, at the 6th USENIX UNIX Security Symposium. Student:
         Trent Jaeger.
       - 1992 National Science Foundation Fellowship - Summer Institute in Japan
       - 1986 Branstrom Prize, University of Michigan


  Technical Advisory Boards
  Current Positions
     - RunSafe
           - Binary rewriting to protect software
     - ZeroFox
           - Provide security for social networking
     - Snag-A-Slip
           - Online boat slip bookings



  Past Successful Technical Advisory Board Positions
     - Arbor Networks
            - Acquired by Danaher, August, 2010.
     - Authentica
           - Acquired by EMC Corporation, March, 2006.
     - Fortify Software
            - Acquired by Hewlett Packard, September 2010.
     - Gilian Technologies
           - Acquired by Breach Security, Inc, July, 2004.
     - Hx Technologies
           - Acquired by MEDecision, May, 2009.
     - Indigo Security
           - Acquired by Tablus, February, 2005.
     - NeoPath Networks
           - Acquired by Cisco, April, 2007.
     - Netscaler
            - Acquired Citrix Systems, August, 2005.
     - SiteAdvisor
           - Acquired by McAfee, April, 2006.
     - Tablus
            - Acquired by EMC Corporation, August, 2007.




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